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UNITED STATES DISTRICT COURT Pp

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_ FOR THE DISTRICT OF: NEW MEXICO eons | EO
BARBARA L. PERKINS: | re “84 JUL }9 py by 29g
Plaintiff, _ , eg | - . Te CUE ae
vs. : “No. CIV 02-1392 MCA/WDS

THE HONORABLE ANTHONY J. PRENCIPI,
SECRETARY OF VETERANS AFFAIRS.

Defendant.

PLAINTIFE’S PROPOSED FINDINGS OF FAC T AND CONCLUSIONS OF LAW
COMES NOW Plaintii¥ Barbara L. Perkins, by and through fier counsel of record. and
respectfully submits the following proposed findings of fac and conclusions of law.
FINDINGS OF-FACT oe
). Perkins served asa general attorney to the Department of Veterans Affairs, Office of
Genera! Courise! from August 1986 unti! October 2001. “Plaintiff's Exhibit 17, festimony of
Plaingit?. |
2. During her time in Defendant’s employ; Plaintiff consistently received excellent :
performance evaluations. Plaintiffs Exhibits 3, 1 8, 19, 20, DI, and 22: Testimony of Gregory
Ferris, Testimony of Plain | |
3. Perkins’s last appraisal with Defendant was dated November LO, 2000, and again her ,
wark was deemed successful in all categories and che’ was described as having completed - |
“excellent legal work.” Plaintiff's Exhibit 3; Testimony of Gregory Ferris; Testimony-of - |

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Plaintiff.
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4. On July 12, 2000, Plaintiff's supervisor, Gregory Ferris, informed Plaintiff that she was
his “best” attorney. Testimony of Plaintiff.

5. On January 17, 2001, Ferris told an EEO counselor for Defendant’s Office of Resolution
Management that Perkins was his “best attorney”. Plaintif? 5 Exhibit 41.

6. At no time during her 15 years of service with the Defendant was Perkins ever

disciplined for any reason, or charged with any misconduct. Testimony of Plaintiff, Testimony of
Gregory Ferris. |

7. During her employment with Defendant, Perkins suffered from depression and dysthymia,
disabilities that substantially limited her in a major life activity. Defendant’s Exhibit T,

Defendant’s Exhibit BD; Testimony of Plaintiff: Testimony of Carol Schwarz, M.D.

8. During Plaintiff's employment with Defendant,. Defendant discriminated against her on
account of her disability by unfairly limiting training opportunities for her. Plaintiff's Exhibit 2;
Testimony of Plaintiff, Testimony of Gregory Ferris.

9. On or about November 7, 2000 Perkins requested to be nominated to two JAG sponsored
courses which would address her contract interests and prepare her for work with federal
contracts. Plaintiff s-Exhibit 2; Testimony of Plaintiff . |

10. Ferris did not approve Perkins’s request to atterid the courses. Plaintiff's Exhibit 2)
Testimony of Plaintiff, Testimony of Gregory Ferris. |

11. [In summer 2000, Ferris instructed Perkins not:to open office mail, even though she was
alone, without clerical assistance. Testimony of Plaintiff; Testimony of Gregory Ferris.

12. _—— Plaintiff's non-disabled counterpart, Viruil Lewis, was not prohibited from opening mail.
Testimony of Gregory Ferris, Testimony of Virgil Lewis. -

13. Assistant Regional Counsel Jeanne Morris, stationed in Phoenix, Arizona, was Ms.

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Perkins’s immediate supervisor from August 2000 until she left Defendant’s employ. Testimony
of Jeanne Morris.

14. On November 27, 2000, in response to Perkins’s request for one week of leave without
pay, Morris requested that Perkins demonstrate that she could perform the essential functions of
her position and instructed Perkins to have her physician identify her disability and describe
accommodations needed. Defendant's Exhibit P, Testimony of Plaintiff, Testimony of Jeanne
Morris.

15. The Morris memorandum was contrary to. Defendant’s leave request procedures. This
letter was more typically sent in response to a request for accommodation, not for leave. When
co-worker Agnes Dotson took a week of leave without pay. she did not receive such a form.
Testimony of Norma Murchison; Testimony of Agnes Dotson,

16. Ina telephone call on or about December 7, 2000, Ferris told Perkins that her physician
could send said a response via e-mail message. Testimony of Plaintiff. |

17. On or about December 7, 2000, Perkins’ physician, Dr. Carol Schwarz, responded to
Morris, identifying Perkins’ diagnoses by name and DSM-IV code, and supporting Perkins’
requests for accommodations, transmitting said response via e-mail. Exhibit T, Testimony of
Carol Schwarz, M.D.

18. On or about December 8, 2000, co-worker Virgil Lewis sent a memorandum to Perkins’s
immediate supervisor, Jeanne Morris, claiming that he believed Perkins to be “bipolar” and
“manic”. Defendant’s Exhibit S; Testimony of Jeanne Morris, Testimony of Virgil Lewis.

19. Co-worker Dotson had also told Morris that she thought Perkins was “bipolar.”
Testimony of Jeanne Morris; Testimony of Agnes Dotson. |
20. On December 11, 2000 and based on Lewis’s e-mail, Morris made accusations regarding

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Perkins, stating that she was manic and suggesting she was a.danger to others. Defendant’s
Exhibit T; Testimony of Jeanne Morris; Testimony of Carol Schwarz M.D, Testimony of
Plaintiff,

22. On December 11, 2000, Perkins's physician made clear to Morris that she was not a
danger to others in the workplace. Defendant’s Exhibit T; Testimony of Carol Schwarz, M.D.

23, In December 2000, Ferris and Morris completely disregarded Schwarz’s

requests that Perkins be allowed more professional interaction and contact, travel and training.
Testimony of Plaintiff; Testimony of Carol Schwarz, M.D.

24. On November I!, 2000 and again on December 8, 2000, Perkins requested information
on the ayency employee leave donation program. Testimony of Barbara L. Perkins, Testimony of
Jeanne Morris. |

25. Morris delayed her response for information on leave donation, until it was too late for
Perkins to take advantage of the information. Testimony of Barbara Perkins; Testimony of
Jeanne Morris.

26. On December 12, 2000, Perkins, learning of Morris’s contact with her physician, became
fearful of reporting for duty and suffered a severe exacerbation of depression. She requested and
received extended leave without pay, and was forced to consider disability retirement because of
her exacerbated condition. Defendant's Exhibit W: Defendant’s Exhibit Z, Defendant’s Exhibit
AC, Testimony of Plaintiff: Testimony of Carol Schwarz, M.D. | |

27. From December 12, 2000 through March 26, 2001, Perkins’s took leave without pay due
to the exacerbation of her depression caused by her supervisor's reference to her as “manic.”
Defendant’s Exhibit W; Defendant’s Exhibit Z; Defendant’s Exhibit AC, Testimony of Plaintiff,

Testimony of Carol Schwarz, M.D.
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28.  Onor about December 13, 2000, Perkins applied for disability retirement through the
Office of Personnel Management. Defendant’s Exhibit U, Defendant’s Exhibit W; Defendant's
Exhibit Z; Defendant’s Exhibit AC; Testimony of Plaintiff, Testimony of Carol Schwarz, M.D.

29. On December 20, 2000, Plaintiff filed an EEO Complaint of Discrimination. Defendant's
Exhibit D; Testimony of Plaintiff. o

30. In December 2000, Ms. Perkins requested a “copy of her Official Personnel File.
Testimony of Plaintiff:

31. Between December 2000 and March 26, 2001, Plaintiff made three separate requests to
have access to her Official Personnel File. Plaintiff's Exhibit 7; Testimony of Plaintiff.

32, On March 30, 2001, Defendant finally produced Plaintiff's Official Personnel File.
Defendant's Exhibit AR.

33. Amy Taylor, a Human Resource Specialist then-employed by Defendant in Phoenix,
Arizona, was scolded by Jeanne Morris for having provided Plaintiff her Official Personnel File.
Testimony of Amy Taylor.

34. On February 26, 2001, Perkins withdrew her application for disability retirement.
Plaintiff's Exhibit 5; Testimony of Plaintiff. 7

34, While on leave without pay after December 12,°2000, partly due to a change of
medication, Perkins was able to return to work and was released by her physician to do so, with
accommodations requested. Plaintiff's Exhibit 6; Plaintiff's Exhibit 24: Plaintiffs Exhibit 25;
Defendant’s Exhibit AE; Defendant’s Exhibit AG; Testimony of Carol Schwarz, M.D.,
Testimony of Plaintiff ,

36. On March 2, 2001, Perkins informed her supervisors that she could return to

work part-time as of March 26, 2001. Defendant’s Exhibit AE, Testimony of Carol Schwarz,

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M.D.; Testimony of Plaintiff.

37. On March 2, 200], Dr. Schwartz notified Ferris that Perkins’s work-load could be
increased to full-time at a later date, and recommended some accommodations. Perkins’s attorney
followed with a letter dated March 14, 2001, which itemized the requested accommodations for
her return. Defendant’s Exhibit AE: Defendant’s Exhibit AG; Testimony of Plaintiff, Testimony
of Carol Schwarz, M.D.

38. One of Perkins’s request for accommodations was to work part-time. Defendant had
previously granted Plaintiff such a request pending disability retirement, but would not allow

that as a reasonable accommodation upon realization that she wished to return. Detendant’s
Exhibit AE; Defendant's Exhibit AG; Defendant’s Exhibit V; Testimony of Plaintiff. Testimony

of Carol Schwarz, M.D., Testimony of Jeanne Mornis.

39. On or about March 26, 2001, Defendant placed Perkins on administrative leave for three
weeks, and banned her from entering her office. Defendant’s Exhibit AJ; Defendant’s Exhibit
AK, Defendant’s Exhibit AM; Defendant’s Exhibit AN. Testimony of Plaintiff; Testimony of
Judith Valots. |

40. Defendant retained a Veteran Affairs psychologist, Jule Moravec, Ph. D., ostensibly to
assist with dealing with Ms. Perkins’s requests for accommodation. Testimony of Greyory
Ferris, Testimony of Jule Moravec, Ph.D.

41. Dr. Moravec was a golfing associate of Plaintiff's supervisor, Gregory Ferris, and the
acting director of the agency’s medical center in Albuquerque, Pat McClem. Deposition of
Testimony of Jule Moravec, Ph. D.; Testimony of Elizabeth Licklighter.

42. Dr. Moravec characterized himself as a “friend” of Mr. Ferris. Deposition Testimony of

Jule Morvaec, Ph.D.
 

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43, Ferris went on to request information from Lewis and Dotson that could be used against
Perkins, which was then submitted to Dr. Moravec. Plaintiff's Exhibit 9 and 10; Defendant’s
Exhibit AT; Testimony of Gregory Ferris; Testimony of Norma Murchison.

44. No other employees were solicited for information regarding Ms Perkins. Testimony of
Gregory Ferns.

45. Detendant’s counsel, Judith Valois, sent medical documentation, which was part of the
disability retirement application, to Dr. Moravec on March 29, 2001. Defendant’s Exhibit U;
Plaintiff Exhibit 26; Deposition Testimony of Jule Moravec, Ph. D., Testimony of Judith Valois.
46. Valois accessed Perkins’ disability retirement application tile without Perkins’s

knowledge or consent. Plaintiffs Exhibit 26, Testimony of Plaintiff.

47. Morris manufactured an unreasonably altered description of the “essential functions” of
Perkins’s job and provided it to the agency’s retained psychologist, Jule Moravec. Plaintiff's
Exhibit 26, Defendant’s Exhibit C; Deposition Testimony of Jule Moravec, Ph. D. Testimony of
Jeanne Morris.

48. Having been provided a copy of Perkins's withdrawn disability application by the
Defendant, the statements of Lewis and Dotson, and the “essential functions” statement created
by Jeanne Morris. Defendant's expert concluded that Perkins could not perform the essential
functions of the job she had more than successfully performed for over |5 years. Plaintiffs
Exhibit 26, Defendant’s Exhibit AW. Deposition testimony of Jule Moravec, Ph. D.

49. Valois wrote to Plaintiff on April 12, 2001 to advise her that the agency expert had
determined that she could not perform the essential functions of her job without incurring a high
probability of substantial harm. Defendant’s Exhibit AU.

50. Defendant repeatedly asked Perkins for fitness-for-duty examinations, despite having
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already made a determination that Perkins’ suffered from a disability. Defendant's Exhibit AU:
Defendant’s Exhibit AY; Defendant’s Exhibit BA: Testimony of Plaintiff, Testimony of Judith
Valois. |

51, Defendant did not engage in the interactive process to determine a reasonable
accommodation, Defendant’s Exhibit AU; Defendant’s Exhibit AY; Defendant’s Exhibit BA:
Testimony of Plaintiff, Testimony of Judith Valois.

52. | Defendant was aware of its obligations under the Rehabilitation Act. Plaintiff's Exhibit
31; Plaintiff's Exhibit 37; Testimony of Judith Valois.

53. Defendant made a determination that Perkins could not perform the essential functions of
her job based on the disability retirement application that was withdrawn by Perkins. Plaintiff's
Exhibit 26; Defendant’s Exhibit AW. Deposition testimony of Jule Moravec, Ph. D.

54. Defendant’s expert ignored an unsolicited letter of support from Defendant’s then-Chief
Of Clinical Operations, David Graeber, M.D., a psychiatrist who worked with Perkins. Plaintiffs
Exhibit 12; Deposition Testimony of Jule Moravec, M.D., Testimony of David Graeber, M.D.

55. The Defendant further denied Perkins access to her office and prohibited her from

entering the building alluding to a risk of harm to herself and others. Defendant's Exhibits AH;
Al; AJ; AL; AM; AO; AU. Testimony of Plaintiff, Testimony of Judith Valois.

56. On July 6, 2001, Plaintiff amended her EEO Complaint to include the agency’s failure to
permit her to return to work or accommodate her, its continuing insistence in a mental fitness-
for-duty exam, and its unauthorized access -to her medical records. Plaintiff's Exhibit 42;
Testimony of Plaintiff.

57. Realizing that the Defendant would neither engage in the interactive process nor grant her
request for an accommodation, Perkins was forced on July 30, 2001, to withdraw her request for

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accommodation in order to return to her position. Defendant's Exhibit BB; Testimony of

Plaintiff.

58. Defendant allowed Perkins to return to duty on September 4, 2001, but, from September
4, 2001 until Perkins’s departure, isolated Perkins, refused to provide her the assistance of the
office’s support staff, refused to speak to her, and excluded her from involvement in selection of
new support personnel. Plaintiff's Exhibits 15 and 16. Testimony of Plaintiff, Testimony of Jack
Sanzari; Testimony of Norma Murchison.

59. —_ In October 2001, Perkins resigned her position at the Department of Veterans Affairs in
Albuquerque, New Mexico, as a result of the discriminatory treatment. Testimony of Plaintiff.

60.  Asaresult of Defendant's discriminatory and retaliatory conduct, Perkins suffered
emotional injury and suffered lost wages and benefits. Defendant’s Exhibits BD, BE; Testimony
of Plaintiff; Testimony of Charies Perkins, Jr.; Testimony of Carol Schwarz, M.D., Testimony of
Sharon Burnside, M.D.

62. Defendant's discriminatory and retaliatory conduct inhibited Perkins’s professional

growth. Testimony of Plaintiff; Testmony of Charles Perkins, Jr.

CONCLUSIONS OF LAW

1. During her employment with Defendant, Perkins was a qualified individual with a
disability.
2. Defendant failed to provide Perkins reasonable accommodations and treated her in a

disparate manner because of her disability.

3. Defendant retaliated against Perkins for opposing unlawful discriminatory practices

under the Rehabilitation Act.
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4. Defendant violated the Rehabilitation Act by refusing to accommodate Perkins’s
disabilities.

5. Defendants treated Perkins in a disparate manner based on her mental disability.

6. Defendant violated the Privacy Act by accessing Perkins's disability retirement

application and copying that information to Dr. Moravec, without the prior written consent of
Perkins.

7. Defendant violated the Privacy Act by unreasonably delaying the production of her
Official Personnel File.

8. The VA willfully and intentionally ignored the Privacy Act limitations by disclosing the
disability retirement application information. |

9. The VA willfully and intentionally ignored the Privacy Act by unreasonable delaying the
production of her Official Personnel File.

10. _—_— Plaintiff has proved that she is entitled to:

a. All salary, bonuses, paid leave, and accrued interest thereon which Plaintiff would have
earned had she not been discriminated against on account of her disability, in the amount
ofS _

b. Have her all records maintained by Defendant expunged of any negative entries incurred,
and to require Defendant to retrieve or discredit, such negative records it has shared with
third parties, including other agencies.

c. Compensatory damages in an amount adequate to compensate Plaintiff for her mental
anguish, pain and suffering and other non-pecuniary losses suffered as a result of ©
Defendant's unlawful conduct, in the amount of $ |

d. Compensatory damages in an amount equivalent to the cost of relocating Perkins and her

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family from Middlesboro, Kentucky to Albuquerque,

constructive discharge, in the amount of $

New Mexico as a result of her

e. Damages for violation of the Privacy Act in the amount of

f. Plaintiff's reasonable attorneys’ fees and costs of this action, in the amount of $

g. Any other further relief as may be just and equitable.

K. Led Peifp

Respectfully submitted,

PEIFER & CORNELL, LLP

 
  
 

George Bach
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(505) 266-4335

Counsel for Plaintiff

' CERTIFICATE OF SERVICE

I hereby certify that the foregoing pleading was sent to opposing counsel of record via U.S. Mail

this 19th day of July 2004.
George Bagh <)
